        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 1 of 20




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MORGAN HALL                               )
                                          )
      Plaintiff,                          )
                                          )         CIVIL ACTION FILE
v.                                        )         NO.___________________
                                          )
STYL RESIDENTIAL LLC, and                 )
RICHARD PRITCHETT                         )
                                          )         JURY TRIAL DEMANDED
      Defendants.                         )

                                    COMPLAINT

      Plaintiff Morgan Hall (“Plaintiff” or “Ms. Hall”) submits the following

Complaint against Corporate Defendant Styl Residential LLC (“Styl” or “Defendant

Employer”) and individual Defendant Richard Pritchett (“Pritchett”).

                         JURISDICTION AND VENUE

      1.     This is a lawsuit for damages arising from sexual harassment and

retaliation toward the Plaintiff, former employee of Defendant Employer, brought

pursuant to 42 U.S.C. § 2000 (hereinafter “Title VII”) and Plaintiff seeks to recover

unpaid work time, unpaid overtime, liquidated damages and attorney’s fees and costs

for all hours worked in excess of 40 hours in a single workweek which lack of

payments are alleged violations of the Fair Labor Standards Act, 29 U.S.C. Secs.

203, et. seq. (hereafter “FLSA”).
            Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 2 of 20




       2.       Ms. Hall’s claims present federal questions over which this Court has

jurisdiction under 28 U.S.C. §§ 1331 Title VII and the FLSA. Further, this Court has

supplemental jurisdiction over this matter pursuant to 28 U.S.C. § 1367.

       3.       This Court is an appropriate venue for all of Ms. Hall’s claims under 28

U.S.C. § 1391(b) and (c) because all the parties reside within the Northern District

of Georgia, and most events giving rise to Ms. Hall’s claims occurred in this judicial

district.

                        ADMINISTRATIVE PROCEEDINGS

       4.       Ms. Hall timely filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”).                      Attached hereto and

incorporated herein is “Exhibit A”.

       5.       The EEOC issued Ms. Hall her notice of right to sue. Attached hereto

and incorporated herein is “Exhibit B”.

       6.       Plaintiff has exhausted her administrative remedies prerequisite to

filing this suit pursuant to Title VII.

       7.       Plaintiff has timely commenced this case within 90 days of her receipt

of the right to sue.

                                          PARTIES

       8.       Plaintiff is a citizen of the United States and a resident of the state of

Georgia.



                                            -2-
           Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 3 of 20




      9.       Plaintiff is female.

      10.      Plaintiff is a member of a protected class under Title VII.

      11.      Plaintiff resides in the Northern District of Georgia and subjects herself

to this Court’s jurisdiction.

      12.      Plaintiff was an employee of Defendant Employer at all times material

to this Complaint.

      13.      Defendant Employer is or was a for-profit corporation licensed to do

business in Georgia.

      14.      Defendant Employer transacts business in the Northern District of

Georgia.

      15.      Defendant Employer is subject to this Court’s jurisdiction and may be

served with process through their registered agents for service of process or other

legal means.

      16.      Pritchett was a Supervisor over Plaintiff.

      17.      Upon information and belief, Mr. Pritchett resides in the northern

district of Georgia.

      18.      Mr. Pritchett may be served with process at Defendant Employer’s

address.




                                           -3-
          Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 4 of 20




                             FACTUAL ALLIGATIONS

                                         FLSA


         19.   Plaintiff alleges violations of the FLSA in that (1) she was not paid for

all time worked, (2) she was not paid overtime for work performed in excess of 40

hours in a single work week during parts of her employment, and alleges that these

violations of the FLSA occurred throughout Georgia and her home office within

the geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division.

         20.   Even though Plaintiff and worked more than forty hours in some

weeks, Defendant failed to pay Plaintiff for all the time that she worked.

         21.   Plaintiff was not exempt under the executive, administrative or

professional exemptions of the FLSA, in part, because she was not paid on a salary

basis.

         22.   Plaintiff was not exempt from the overtime requirements of the FLSA

under the executive exemption because Plaintiff’s primary duty was not managing

the enterprise or managing a customarily recognized department or subdivision of

the enterprise.

         23.   Plaintiff was not exempt from the overtime requirements of the FLSA

under the executive exemption because Plaintiff did not customarily and regularly

direct the work of at least two other full-time employees or the equivalent.


                                           -4-
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 5 of 20




      24.      Plaintiff was not exempt from the overtime requirements of the FLSA

under the executive exemption because Plaintiff did not have the authority to hire

or fire other employees or have her suggestions and recommendations regarding

the hiring, firing, advancement, promotion, or any other change in status of other

employees be given particular weight.

      25.      Plaintiff was not required to maintain any form of professional license

by Defendant. Plaintiff’s primary duty is not to exercise discretion and independent

judgment of a professional as defined by the FLSA or U.S. Department of Labor

Regulations.

      26.      Plaintiff was not exempt from the overtime requirement of the FLSA

as a learned professional.

      27.      Plaintiff’s primary duty is not the performance of office or non-

manual work directly related to the management or general business operations of

the employer or the employers’ customers.

      28.      Plaintiff was not exempt from the overtime requirements of the FLSA

under the Administrative Exemption.

      29.      At all times material to this Complaint, Defendant Employer

employed Plaintiff.




                                          -5-
         Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 6 of 20




        30.   Defendant Employer is subject to enterprise coverage under the FLSA.

        31.   Styl had annual revenues in excess of $500,000.00 between 2018 and

2020.

        32.   During Plaintiff’s employment, Defendant Employer was engaged in

interstate commerce as they designed and managed apartment complexes

throughout the County. Further Defendant Employer used interstate data

networks which were instrumentalities of interstate commerce because they were

used for sending and receiving electronic communications in interstate commerce.

        33.           Defendant Employer is also subject to individual coverage under

the FLSA.

        34.      During Plaintiff’s employment with Defendant Employer Plaintiff

worked more than 40 hours per week almost every week she was employed by

Defendant Employer.

        35.   Plaintiff typically worked at least 10 hours per day. She often worked

6+ days a week, much of this time off the clock.

        36.      Plaintiff was not paid for all her hours worked and was not paid

overtime for all the hours she worked in excess of 40 hours per week while she was

off the clock.




                                          -6-
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 7 of 20




      37.      Ms. Hall’s employment with Defendant began on or about December

16, 2019.

      38.      Ms. Hall was hired by Defendant Employer as a leasing agent at an

apartment complex called “Flats at Perimeter Place”.

      39.      As an alleged perk to Ms. Hall’s job, she resided at the complex with

a 20% discount on rent.

      40.      This resulted in Plaintiff having to often cover for employees, and

being the person whom residents went to for questions and concerns, etc.

      41.      Throughout her employment, Plaintiff frequently worked overtime in

office, over the phone and from her home.

      42.      Plaintiff worked when she was scheduled, but also worked when she

wasn’t on the schedule.

      43.      Further, her supervisor/manager, Mr. Burton, often ordered Plaintiff to

work later that her scheduled time and he would often change her schedule orally,

but not on paper.

      44.      For example, Plaintiff was on-call and available when asked to due to

the following:


            - Coworkers repeatedly leaving work early


            - Coworkers failing to show up to their scheduled shifts



                                          -7-
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 8 of 20




            - Coworkers failing to do the job assigned to them


            - Assisting numerous temps lacking property knowledge


            - Assisting vendors visiting the property outside of work hours


            - Sending required daily reports to Corporate, Investors, Upper

            Management.


                              SEXUAL HARASSMENT


      45.      Defendant Employer employed fifteen or more employees for each

working day in each of twenty or more calendar weeks throughout 2018 and 2019,

and 2020.

      46.      Defendant Employer is subject to the anti-discrimination and anti-

retaliation provisions of Title VII of the Civil Rights Act of 1964, as amended.

      47.      Plaintiff’s manager, Ben Burton was the Director of Property

Management.

      48.      Mr. Burton repeatedly made sexual advances and requests for sexual

favors during Plaintiff’s employment.

      49.      Plaintiff was constantly coerced by his persistence and frustration

when she rejected or ignored his advances.




                                          -8-
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 9 of 20




      50.    Mr. Burton however would not take no for an answer. He frequently

made plans and promises to promote Plaintiff, increase her pay, and/or provide

other work-related benefits in exchange for sexual favors.

      51.    Mr. Burton’s sexual harassment began around January 13, 2020 and

continued throughout her employment.

      52.    Within these months, Plaintiff informed him numerous times that she

wasn’t interested, didn’t like him like that, etc.

      53.    Shortly after Plaintiff started, she was scheduled for an upcoming

STYL and RealPage training.

      54.    Plaintiff had been scheduled to attend this training the week of

January 27, 2020.

      55.    Plaintiff was scheduled to attend the first 2-3 days of training.

      56.    The first day covered STYL - the company’s mission, successes,

upcoming changes, expectations, system tips, etc..

      57.    Plaintiff was also scheduled for Real Page training; this day was

necessary as it covered software system training, shortcuts, tips, etc. that would be

essential to the performance of Plaintiff’s job.

      58.    However, upon leaving the first day of STYL training, Mr. Burton

told Plaintiff that she was done with training.




                                          -9-
       Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 10 of 20




      59.    He mentioned that the additional days she had been scheduled for

training she no longer should attend.

      60.    Mr. Burton made this decision because he wanted Plaintiff to be

dependent on him and realize that she would be unable to keep her job if he was

unhappy with her rejection of his sexual advances.

      61.    Plaintiff was also sexually harassed by her Regional Property

Manager, Individual Defendant Richard Pritchett.

      62.    Pritchett constantly leered at her, studiously watched her on camera,

and made inappropriate sexual comments, and mentioned giving her a raise on

more than one occasion insinuating that the raise would be dependent on how she

responded to his/Mr. Burton’s advances.

      63.    Pritchett’s sexual harassment included but was not limited to the

following:

      64.    Pritchett mentioned that Plaintiff was “getting thick”, in reference to a

dress she had on that day, and that he wanted to see her looking sexier.

      65.    He asked for not only a picture of Plaintiff, but also of her daughter’s

babysitter who came to the office on March 20, 2020.

      66.    He asked Plaintiff to attend a fraternity party with him in Stone

Mountain.




                                        - 10 -
       Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 11 of 20




      67.     He made sexual remarks to Plaintiff in reference to her daughter’s

babysitter.

      68.     He frequently referred to himself as “Daddy Rick”.

      69.     He would frequently attempt to hug Plaintiff.

      70.     Plaintiff told Pritchett that she did not want to hug him, but he would

hug her anyway and she would have to push him off of her.

      71.     When Mr. Pritchett began working on-site, he worked out of a middle

office which was in direct view of Plaintiff’s desk.

      72.     Plaintiff frequently noticed Mr. Pritchett staring at her.

      73.     In a meeting in February, 2020 Mr. Pritchett rolled his office chair up

close enough for his knees to touch Plaintiff’s knees. While doing so he began a

discussion with Plaintiff about what he wanted to see out of her to get a promotion.

      74.     Shortly after the departure of the first Property Manager, Jim Stabler,

Mr. Pritchett was temporarily the on-site Manager (late February – early May).

      75.     When Plaintiff asked about the status of hiring a new manager, he

frequently mentioned applicants’ salary requirements; stating three managers were

not considered in order to keep room in the budget for Plaintiff’s raise depending

on how she got along with everyone at STYL. Implying that she needed to be

more open to his advances if she wanted a raise.




                                          - 11 -
          Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 12 of 20




         76.   Towards the end of March, Mr. Pritchett stated that due to the

pandemic, management’s previously mentioned promotion would come later, but

that she could still expect a raise soon if….

         77.   One time when confronted about the status of said promotion/raise,

Mr. Pritchett went as far as to request pictures of the Plaintiff.

         78.   Shortly after the start of Covid-19, Plaintiff was asked by

Management to record apartment videos for STYL’s YouTube channel and virtual

tours.

         79.   These virtual tours had checklists and were to be recorded on iMovie.

The company iPad did not produce quality videos, so Plaintiff was told to record

these videos on her iPhone.

         80.   Once complete, the videos were to be approved by Management prior

to being posted.

         81.   Upon information and belief, Mr. Pritchett viewed many of Plaintiff’s

private pictures in addition to her videos shot for STYL. Specifically, Mr.

Pritchett viewed nude pictures of the Plaintiff stored on her phone.

         82.   Mr. Pritchett spoke about going to strip clubs, made sexual remarks

about Plaintiff’s body and invaded her personal space on numerous occasions.


                       COUNT I
SEXUAL HARASSMENT/SEX BASED HOSTILE WORK ENVIRONMENT
               IN VIOLATION OF TITLE VII


                                          - 12 -
          Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 13 of 20




         83.   Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

         84.   This claim is asserted solely against Defendant Employer.

         85.   Ms. Hall was subjected to sexual harassment and sexual assault by

Defendant Employer.

         86.   The above conduct by the Plaintiff’s managers was unwelcome,

offensive, and constitutes sexual harassment of Ms. Hall.

         87.   The sexually harassing conduct was open and notorious.

         88.   Plaintiff’s two managers subjected Ms. Hall to sexual harassment for

which Defendant is liable.

         89.   At all times relevant to this action, Defendant knew or should have

known of the sexual harassment endured by Ms. Hall and the existence of a sexually

hostile work environment, but it failed to take remedial action to protect Ms. Hall.

         90.   Instead, Defendant allowed a sexually harassing work environment to

exist.

         91.   Defendant Employer’s actions constitute unlawful and intentional

gender discrimination in violation of Title VII of the Civil Rights Act, as amended.

         92.   Defendant Employer willfully and wantonly disregarded Ms. Hall’s

rights, and Defendant discrimination against Ms. Hall was undertaken in bad faith.




                                         - 13 -
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 14 of 20




       93.    As a result of Defendant Employer’s unlawful actions, Ms. Hall has

suffered emotional distress, inconvenience, loss of income and benefits, humiliation,

and other indignities.

                           COUNT II
        RETALIATION IN VIOLATION OF TITLE VII and the FLSA

       94.    Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

       95.    This claim is asserted solely against Defendant Employer.

       96.    Ms. Hall engaged in protected activity under Title VII and the FLSA

by complaining of sexual harassment/sexual assault, not being paid for her work off

the clock.

       97.    Ms. Hall was terminated in retaliation for engaging in protected

activity.

       98.    Defendant Employer’s actions constitute unlawful retaliation in

violation of Title VII and the FLSA.

       99.    Defendant Employer willfully and wantonly disregarded Ms. Hall’s

rights under Title VII and the FLSA.

       100.   Defendant Employer’s retaliation against Ms. Hall was undertaken

intentionally and in bad faith.

       101. As a result of Defendant’s unlawful actions, Ms. Hall has suffered lost

compensation and other benefits of employment, significantly diminished

                                        - 14 -
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 15 of 20




employment opportunities, emotional distress consisting of, but not limited to,

outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.

                                  COUNT III
                               SEXUAL ASSAULT

       102. Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

       103. This action is solely asserted against Mr. Pritchett.

       104. The above-described actions by Mr. Pritchett constitute sexual assault.

       105. Mr. Pritchett willfully and wantonly disregarded Ms. Hall’s rights when

he sexually assaulted her.

       106. Mr. Pritchett is liable to Plaintiff for the damages his sexual assault

caused Plaintiff.

       107. As a result of the harasser’s unlawful actions, Ms. Hall has suffered lost

compensation and other benefits of employment, significantly diminished

employment opportunities, emotional distress consisting of, but not limited to,

outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.

                            COUNT IV
               NEGLIGENT RETENTION AND SUPERVISION




                                        - 15 -
        Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 16 of 20




       108. Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.

       109. This claim is asserted solely against Defendant Employer.

       110. Defendant Employer failed to properly investigate the harassment

Plaintiff complained about or to properly regulate its company workplace.

Defendant Employer knew of both Plaintiff’s supervisors’ propensities,

constructively knew, or in the exercise of reasonable care should have known of his

propensities. Alternatively, Defendant Employer should have known of the danger

of a sexual assault toward Ms. Hall.

       111. As a result of Defendant Employer’s unlawful actions, Ms. Hall has

suffered lost compensation and other benefits of employment, significantly

diminished employment opportunities, emotional distress consisting of, but not

limited to, outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.

                               COUNT V:
               FAILURE TO PAY OVERTIME UNDER THE FLSA

       112. Plaintiff incorporates by reference paragraphs 1-111 of this Complaint

as if fully set forth herein.

       113. Plaintiff was employed by Defendant Employer in interstate

commerce, using goods procured through interstate commerce.


                                        - 16 -
       Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 17 of 20




      114. A substantial portion of Plaintiff’s work was related to the movement

of information, and data between states, and therefore Plaintiff was employed by

Defendant Employer in interstate commerce.

      115. Throughout Plaintiff’s employment, she worked more than 40 hours

per week.

      116. Plaintiff was not subject to an exemption from the overtime

requirements of the FLSA.

      117. Plaintiff was entitled, under the FLSA, to receive overtime pay at one

and one-half times Plaintiff’s regular hourly rates for all hours worked in excess of

40 hours per week.

      118. Further, Plaintiff worked off the clock and she is entitled to her hourly

rate for all hours work under 40 hours a week for which she was not compensated.

      119. Defendant Employer failed to pay Plaintiff one-half times Plaintiff’s

regular hourly rates for all hours worked in excess of 40 hours per week as

required by the FLSA.

      120. Defendant Employer’s failure to pay Plaintiff one and one-half times

Plaintiff’s regular hourly rate for hours worked in excess of 40 hours per week as

required under the FLSA was a willful violation of the FLSA for Defendant

Employer’s pecuniary benefit.


                                        - 17 -
       Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 18 of 20




      121. As a direct and proximate result of Defendant Employer’s failure to

pay Plaintiff’s overtime wages as required under the FLSA, Plaintiff has suffered

lost wages.

      122. Plaintiff is entitled to an award of liquidated damages in addition to

her unpaid overtime wages because Defendant Employer’s failure to pay overtime

was willful.


                      COUNT VI BREACH OF CONTRACT

      123. Plaintiff incorporates by reference as if fully restated here, the

            preceding Paragraphs of Plaintiff’s Complaint.

      124. Defendant’s failure to pay Plaintiff for all hours worked at the agreed

hourly rates constitutes a breach of contract by Defendant of an agreement to pay

Plaintiff for all time worked at an agreed hourly rate consistent with FLSA

regulations.

      125. Plaintiff is entitled to recover from Defendant breach of contract

damages at her agreed hourly rate for all time worked.


      WHEREFORE, Plaintiff demands a trial by jury and for the following relief:

      (a)      a declaratory judgment that Defendant Employer has engaged in

unlawful employment practices in violation of Title VII of the Civil Rights Act, as

amended;



                                         - 18 -
       Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 19 of 20




      (b)    an injunction prohibiting Defendant Employer from engaging in

unlawful employment practices in violation of Title VII of the Civil Rights Act;

      (c)    full back pay from the date of Plaintiff’s retaliatory termination, taking

into account all raises to which Plaintiff would have been entitled but for her

unlawful termination, and all fringe and pension benefits of employment, with

prejudgment interest thereon;

      (d)    front pay to compensate Plaintiff for lost future wages, benefits, and

pension;

      (e)    liquidated damages and compensatory damages, in an amount to be

determined by the enlightened conscience of the jury, for Plaintiff’s emotional

distress, suffering, inconvenience, mental anguish, loss of enjoyment of life and

special damages;

      (f)    punitive damages in an amount to be determined by the enlightened

conscious of the jury to be sufficient to punish Defendants for their conduct toward

Plaintiff and deter them from similar conduct in the future;

       (g)   reasonable attorney’s fees and costs;

       (h)   nominal damages, and

      (i)    other and further relief as the Court deems just and proper.

      Respectfully submitted this 15th day of November 2021.

                                                     /s/ J. Stephen Mixon



                                        - 19 -
      Case 1:21-cv-04717-TWT Document 1 Filed 11/15/21 Page 20 of 20




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                                  - 20 -
